                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

 In the matter of:
 JOSEPH G. DUMOUCHELLE, and                Bankruptcy Petition No. 19-54531-lsg
 MELINDA J. ADDUCCI,                                      Hon. Lisa S. Gretchko
                   Debtor(s)                                          Chapter 7


 TEODOR GELOV,                                        Adv. Pro. No. 20-04172-lsg
               Plaintiff,                                  Hon. Lisa S. Gretchko
 v.
 MELINDA J. ADDUCI,
                      Defendant


 DEFENDANT’S RESPONSE AND OBJECTION TO PLAINTIFF’S MOTION
FOR SUMMARY JUDGMENT AGAINST DEFENDANT MELINDA ADDUCCI
  UNDER COUNTS I, II, AND IV OF PLAINTIFF’S SECOND AMENDED
                          COMPLAINT

       NOW COME the Defendant, Melinda Adduci (“Lindy”), by and through her

 counsel, JOHN R. FOLEY, P.C., who hereby responds and objects to Plaintiff,

 TEODOR GELOV (“Plaintiff”)’s Plaintiff’s Motion for Summary Judgment

 Against Defendant Melinda Adducci Under Counts I, II, And IV Of Plaintiff’s Second

 Amended Complaint (“Motion”) and Plaintiff’s Brief in Support (“Brief”) of the

 same, as follows:

                                   Introduction

       Plaintiff’s Motion is short-form and relies entirely on the Brief which it

 incorporates. Therefore, from this point forward, any reference to the “Motion”


                                     Page 1 of 21
  20-04172-lsg   Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04   Page 1 of 22
should also be construed to include reference to the Brief, and in some instances,

may specifically mean provisions of the Brief.

                            OVERVIEW OF MOTION

      Plaintiff’s Motion, while being brought under Fed.R.Civ.Pro 56(c), actually

seeks the legal remedy of vicarious liability against Lindy, based on facts related to

the actions of former co-defendant JOSEPH G. DUMOUCHELLE (“Joe”). This

can be seen in the Statement of Issues, (Brief, Page iii), in which Plaintiff articulates

that the only issue raised in the Motion is that of Lindy’s alleged vicarious liability

for Joe’s actions, stating that the question is whether or not Lindy should be liable,

“irrespective of Melina’s direct culpability.”

                RESPONSE TO “I. INTRODUCTION” SECTION

      Plaintiff’s claims against Lindy are not, “undisputed” as stated by Plaintiff.

      Plaintiff writes: “It is has been determined in state court that Melinda, Joseph,

and DuMouchelle Jewellers incurred the debt to Plaintiff memorialized by the Note.”

To clarify: the Oakland County, Michigan 6th Circuit Court entered judgment in the

amount of $1.8 million dollars against Joe, Lindy and the business, on only breach

of contact. The Court made no specific findings, and none are attached to Plaintiff’s

motion.

      Plaintiff has no basis to now claim fraud against Lindy, and certainly not to

equate a breach of contract judgment into a right to receive a non-dischargeable



                                      Page 2 of 21
 20-04172-lsg    Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04      Page 2 of 22
judgment in Bankruptcy Court, through claims sounding in fraud, embezzlement,

etc.

       Plaintiff writes: “Joseph’s criminality against Plaintiff regarding the Note has

likewise already been determined by the Federal Court, leaving no issue of fact as

to whether the debt was incurred through fraud.” This is simply false. Joe was

prosecuted for a crime related to dealings between two (2) other parties, parties

unrelated to Plaintiff Gelov in this case. The Gelov transaction was not what Joe was

prosecuted for.

       Plaintiff states, “Melinda is indebted to Plaintiff for the exact transaction that

led to Joseph’s criminal conviction.” This is simply not true.

       Plaintiff’s recitation of their Counts I, II, and IV of their own Complaint

appear correct; however, Lindy does not stipulate to the relief requested.

                  RESPONSE TO “II BACKGROUND” SECTION

Response to “DuMouchelle Jewellers” Sub-Section

       Lindy does not dispute the existence of DuMouchelle Jewelers, nor that she

was 10% member, nor that she was listed online as “vice president.”

       Contrary to Plaintiff’s assertion, Lindy did not hold herself out publicly as a

“partner” of DuMouchelle Jewelers, and the website, Exhibit 6 to the Motion,

(which is also hearsay within hearsay, without an exception) does not support that

statement. She is not listed on the website as a “partner”, nor does the website state



                                      Page 3 of 21
 20-04172-lsg     Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04      Page 3 of 22
that she “communicated with DuMouchelle Jewelers customers.”

      Contrary to Plaintiff’s assertion. Melinda was not responsible for brokering of

jewelry, and that that was “Joe’s business.” Exhibit 3 to Plaintiff’s Motion,

Transcript Dep of Lindy, Page 51, Line 8.

      Further, the statements are irrelevant to this case or this motion. Nowhere in

his Complaint, nor this Motion, does Plaintiff claim that he viewed or relied on the

website of DuMouchelle Jewelers, or any statements thereon.

      Lindy did not “represent herself” to the Plaintiff as a “member of the National

Association of Jewelry Appraisers and the American Society of Appraisers.” Rather,

Plaintiff here references Exhibit 6 to the Motion, which appears to be (without

stipulation) an archive of, a copy of, an historic image of, an old version of the

business website. Again, nowhere in the Complaint or Motion does Plaintiff allege

that Lindy made such a representation to him, nor that he viewed or relied upon the

website in any way.

      Response to “The Note” Sub-Section

      Lindy did not sign the Promissory Note. Specifically, a careful review of the

Promissory Note reveals that the same DocuSign account number was used for both

Joe’s signature and Lindy’s signature. Exhibit A. Lindy was not aware that Joe

asked Plaintiff for a loan, Lindy did not ask Plaintiff for a loan, Lindy had, before

this litigation, never even seen, yet alone signed, the Promissory Note in question.



                                    Page 4 of 21
 20-04172-lsg   Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04     Page 4 of 22
Plaintiff’s Motion’s Exhibit 3, Page 7 Line 20 to Page 9 Line 25.

         There is no admission on record that Lindy was a signer on the Chase account.

There is no “page 93” to Plaintiff’s Motion’s Exhibit 8. However, even a review of

both transcripts (Exhibit 3 and Exhibit 8) reveals no such admission. (Exhibit 3

does not have a page 93 either.)

         Lindy denies the remainder of the allegations in this section, (Brief, Page 19,

first full paragraph), on the basis that she did not make any such promises.

Response to “Melinda’s Obligation Under the Note” Sub-Section

         Lindy acknowledges that she was sued in the Oakland County Circuit Court,

and that partial summary disposition was granted in that case, on a breach of contract

claim.

         Lindy further states that in seeking contractual damages in this case, Plaintiff

is inherently admitting to this Court that this is no more than a breach of contract

action, not a fraud case, and that Plaintiff’s instant motion, therefore, should be

denied, and Plaintiff’s Adversary Complaint should be dismissed with prejudice as

to Lindy.

Response to Further Multiple Sub-Sections

         Plaintiff’s assertions under the sections: “The Criminal Information” section

(Brief, page 5), “The Plea Agreement” section (Brief, pages 5-6), “The Loss

Calculation and Restitution Award” section (Brief, page 6), “Findings in the



                                       Page 5 of 21
 20-04172-lsg      Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04      Page 5 of 22
Sophisticated Means Opinion” section (Brief, pages 6-7), the “Findings in the

Judgment” section (Brief, pages 7-8), the “The Appeal” section (Brief, page 8), the

“The Bankruptcy Claim” section (Brief, page 8), all appear to be correct recitations

of what transpired regarding Joe, based on the documents attached thereto in each

section; however, they are not relevant to Lindy and Lindy does not stipulate to these

statements.

      Lindy further responds, however, that the Court should note that, under the

“The Bankruptcy Claim” section (Brief, page 8), Plaintiff makes plain that they are

seeking contractual damages, contractual interest, fees and costs in this case.



                       RESPONSE TO III. ARGUMENT

      Plaintiff chooses to break his arguments into four Sections, namely:

   A. Plaintiff is entitled to judgment as a matter of law for $2,862,715.59 million
      against Melinda where there are no genuine issues of material fact pertaining
      to her nondischargeable liability.

   B. Plaintiff’s claim against Melinda is nondischargeable under 11 U.S.C.
      §523(a)(2)(A) as a matter of law irrespective of her personal culpability due
      to Joseph’s admissions in the Criminal Proceeding and her ownership and
      involvement in DuMouchelle Jewellers.”

   C. Plaintiff’s claim against Melinda is nondischargeable under 11 U.S.C.
      §523(a)(4) as a matter of law irrespective of her personal culpability due to
      Joseph’s admissions in the Criminal Proceeding and her ownership and
      involvement in DuMouchelle Jewellers.”

   D. Plaintiff is entitled to summary judgment in the full amount of the Yellow
      Rose Judgment Amount of $2,862,715.59.


                                     Page 6 of 21
 20-04172-lsg   Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04     Page 6 of 22
         Plaintiff’s four sections of argument can be roughly described as follows.

         In Section A, Plaintiff argues that 11 U.S.C. §523, on its face, means that

Lindy cannot discharge Plaintiff’s judgment. While Plaintiff does not discuss the

case of Bartenwerfer v. Buckley, 143 S. Ct. 665, 676 (2023) in Section A, Plaintiff’s

argument here was clearly prompted by a misreading of the Bartenwerfer opinion.

This belief is bolstered by later analysis of Bartenwerfer made by Plaintiff in

Sections B & C of the Brief.

         In Section B of the Arguments, Plaintiff provides a thorough, although

misguided, analysis of Bartenwerfer. Plaintiff argues to this Court that Lindy’s debt

to Plaintiff should be deemed non-dischargeable under 11 USC §523(a)(2)(A), on

the misunderstanding that Bartenwerfer stands for the proposition that merely

because Lindy and Joe were married, and both were members of an LLC, she may

be held vicariously liable for Joe’s actions. This interpretation is incorrect.

         Plaintiff’s Section B arguments are best summarized by two statements in the

Brief:

            A. “Thus, under the plain reading of Sec. 523(a)(2)(A), the fact that the
               Principal Obligation in the amount of $1.8 million was acquired
               through Joseph’s admitted fraud renders Plaintiff’s claim against
               Melinda for the entire amount of the Claim nondischargeable as a
               matter of law.” (Brief, Page 10)

            B. “The standard of Bartenwerfer similarly applies to the question of
               nondischargeability of Plaintiff’s claim against Melinda pursuant to


                                       Page 7 of 21
 20-04172-lsg     Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04     Page 7 of 22
            Sec. 523(a)(2)(A). Just like Bartenwerfer, Melinda was in business with
            Joseph through their operation of DuMouchelle Jewellers.” (Brief,
            Page 13)

         C. “Thus, through Joseph’s admissions, guilty plea, and determinations in
            the Criminal Proceeding, the debt owing to Plaintiff was conclusively
            a debt incurred through fraud and, therefore, it is a debt that is
            nondischargeable as to Melinda.” (Brief, Page 14)

         D. “Melinda is both Joseph’s spouse and business partner, Melinda
            executed the Note as a borrower and was held liable under the State
            Court Judgment for breach of the Note. .... Moreover, Melinda was
            involved sufficient enough in the business of DuMouchelle Jewellers
            that she was a signatory to the exact account where Plaintiff’s $1.8
            million was deposited and later disbursed for other purposes. (Brief,
            Page 15)

      In Section C, Plaintiff’s arguments are essentially an extension of the analysis

of Bartenwerfer in Section B, but this time applied to 11 U.S.C. §523(a)(4).

Plaintiff’s Section C arguments are best summarized by two statements in the Brief:

         A. “Consistent with Bartenwerfer’s interpretation of Section 523(a),
            Melinda’s liability for the Principal Obligation under the Note3 is
            nondischargeable as a matter of law under Sec. 523(a)(4) based on
            Joseph’s admissions in the Rule 11 Plea Agreement, his testimony at
            the Guilty Plea Hearing, and the Court’s findings in the Restitution
            Order ... [.]” (Brief, Page 18)

         B. “It has already been held that Melinda is a party obligated to Plaintiff
            under the Note for the Principal Obligation. Exhibit 10. Therefore, the
            debt as against Melinda is nondischargeable as a matter of law by the
            mere fact that the debt was incurred through Joseph’s admitted
            larceny.” (Brief, Page 18)

      Finally, in Section D, Plaintiff makes the astounding claim that because the

Bankruptcy Trustee has not objected to Plaintiff’s Proof of Claim in the bankruptcy

case, Plaintiff is entitled to a full judgment of $2,862,715.59 against Joseph (not


                                    Page 8 of 21
 20-04172-lsg   Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04      Page 8 of 22
Lindy).

                 RESPONSE TO ARGUMENTS, COMBINED

      Defendant responds to all of Plaintiff’s four argument sections together in the

following analysis.

      Plaintiff Makes 2 Wrong Arguments Regarding Bartenwerfer

      Plaintiff’s entire instant Motion is premised upon Plaintiff’s misreading of the

Bartenwerfer opinion, and Plaintiff’s attempts to wrongly apply those

misinterpretations here. Plaintiff incorrectly interprets Bartenwerfer in two ways.

      First, in Section A of his arguments, Plaintiff argues that SCOTUS has now

rendered 11 U.S.C. §523 so broad that any time any person obtained money or

property by action(s) which, under 11 U.S.C. §523(a)(2)(A) would render that debt

non-dischargeable with respect to that debtor, each and every one of their co-debtors

are now automatically unable to discharge that same debt. This interpretation is

incorrect.

      Second, in Sections B & C of his arguments, Plaintiff tries to proverbially “fit

the square beg in the round hole.” Plaintiff attempts to argue that Bartenwerfer

applies here, merely because Joe and Lindy were married, or alternatively, because

they were members in the same LLC. These arguments fail.

      Response to Plaintiff’s First Line of Argument

      With respect to Plaintiff’s first line of argument, that Bartenwerfer rendered



                                     Page 9 of 21
 20-04172-lsg   Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04     Page 9 of 22
11 U.S.C. §523 so broad that every co-debtor is automatically liable for the fraud of

another co-debtor: nothing could be further from the truth. Contrary to Plaintiff’s

arguments regarding the scope of 11 U.S.C. §523, SCOTUS made it clear that the

imposition of vicarious liability for fraud upon an innocent co-debtor is entirely

based upon underlying state law. In Bartenwerfer, SCOTUS relied on California law

regarding liability of partners in a general business partnership. It was not the fact

that the parties were married; it was specifically because the parties were in a general

partnership (not, for example, co-members of an LLC), construed so under

California law, that enabled the SCOTUS to say that vicarious liability was

appropriate, due to state law. Specifically, SCOTUS stated in the Bartenwerfer

opinion as follows:

             It also bears emphasis-because the thread is easily lost in
             Bartenwerfer's argument-that §523(a)(2)(A) does not
             define the scope of one person's liability for another's
             fraud. That is the function of the underlying law-here, the
             law of California. Section 523(a)(2)(A) takes the debt as it
             finds it, so if California did not extend liability to honest
             partners, §523(a)(2)(A) would have no role to play.
             Bartenwerfer's fairness-based critiques seem better
             directed toward the state law that imposed the obligation
             on her in the first place.

             (bold/emphasis added)

      Therefore, Bartenwerfer does not stand for the proposition that suddenly, in

any bankruptcy case, one debtor can now be held liable under §523(a)(2)(A) for the

debts of another.

                                     Page 10 of 21
20-04172-lsg    Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04      Page 10 of 22
      This first line of argument requires no further argument.




      Response to Plaintiff’s Second Line of Argument

      Plaintiff’s second line of argument is that somehow Bartenwerfer is

applicable to this case, merely because Lindy and Joe were members of the same

LLC, and were married. This argument is equally non-meritorious.

      Frankly, Plaintiff likely understands that Bartenwerfer speaks about

California partnership law, not about 11 U.S.C. §523 generally, nor about any other

kind of business relationship, because Plaintiff makes the following misstatement:

“Melinda is both Joseph’s spouse and business partner, Melinda executed the Note

as a borrower and was held liable under the State Court Judgment for breach of the

Note. … Moreover, Melinda was involved sufficient enough in the business of

DuMouchelle Jewellers that she was a signatory to the exact account where

Plaintiff’s $1.8 million was deposited and later disbursed for other purposes.”

(Brief, Page 15).

      This simply is simply not true. Rather, this appears to be a misuse of the

colloquial term “partner” in a business, where Lindy’s interest is legally defined as

a “membership interest”, in order to argue that this Court should also so-conflate

the terms, and apply thus Bartenwerfer to this case.



                                    Page 11 of 21
20-04172-lsg    Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04    Page 11 of 22
       Further, as discussed above/herein, Lindy denies that she ever saw the

Promissory Note before the commencement of the state court litigation or her

deposition therein, and the Docusign signatures suggest that the same account was

used to attach Joe’s signature and Lindy’s “signature.”

       As Plaintiff himself points out (Brief, Page 3): Lindy was a 10% member of a

Michigan Limited Liability Company (Joseph DuMouchelle Fine & Estate Jewelers,

LLC). Lindy was and is not Joe’s business partner in a general partnership. This is

important, because the ruling in Bartenwerfer is based upon California law which

attributes vicarious liability to partners in a general partnership. Michigan law on

limited liability companies, and the liability of the members thereto, is quite the

opposite. In fact, MCL §450.4501(4) states, “Unless otherwise provided by law or

in an operating agreement, a person that is a member or manager, or both, of a limited

liability company is not liable for the acts, debts, or obligations of the limited liability

company.”

            Conclusion RE Response to Argument RE Bartenwerfer

       With it clarified that: (A) Bartenwerfer does not stand for the proposition that

11 U.S.C. §523(a)(2)(A) is now per se applied to all co-debtors of a fraud-related

debt; and (B) that Bartenwerfer is not applicable in this case, we turn our attention

to what is lacking in Plaintiff’s claims against Lindy.




                                      Page 12 of 21
20-04172-lsg     Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04        Page 12 of 22
                           FURTHER ARGUMENTS

Plaintiff Should Not Be Granted Summary Judgment under 11 U.S.C
§523(a)(2)(A), and Defendant Should be Granted Summary Judgment in Her
Favor

      Plaintiff is required to prove five (5) elements to succeed on a claim under 11

U.S.C §523(a)(2)(A), namely:

      (1) The debtor made false representations;
      (2) The debtor knew such representations to be false at the time they were
          made;
      (3) The representations were made with the intent to deceive the creditor;
      (4) The creditor relied on the representation; and
      (5) The creditor’s loss was the proximate result of the misrepresentation
          having been made.

      Kille v. Rudski (In re Rudski) 357 B.R. 121, 125 (Bankr. N.D. Ohio 2006)

(citing Rembert v AT&T Universal Card Servs., Inc. (In re Rembert), 141 F.3d 277,

280-81 (6th Cir.1998)).

      “For the purposes of § 523(a)(2)(A), false representations and pretenses

encompass statements that falsely purport to depict current or past facts. False

pretenses involves implied misrepresentation or conduct intended to create and

foster a false impression, as distinguished from a false representation which is an

express misrepresentation.” Haney v Copeland (In re Copeland), 291 B.R. 740, 760

(Bankr. E.D. Tenn. 2003) (citations and internal quotation marks omitted).

      According to Michigan law, if a material representation in question relates to



                                    Page 13 of 21
20-04172-lsg   Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04    Page 13 of 22
a future promise, the plaintiff’s cause of action lies in contract, not fraud. Hi-Way

Motor Co. v. Int’l Harvester Co., 398 Mich. 330, 336 (1976).

      Pursuant to Fed. R. Civ. P.9(b), made applicable to adversary proceedings by

Federal Rule of Bankruptcy Procedure 7009, “[a]verments of fraud must be stated

with particularity [and] the threshold test is whether the complaint places the

defendant on ‘sufficient notice of misrepresentation,’ allowing the defendant to

‘answer, addressing in an informed way plaintiffs (sic) claim of fraud.’” In re LTV

Steel Co., Inc., 288 B.R. 775, 780 (Bankr. N.D. Ohio 2002) (quoting Coffey v

Foamex L.P., 2 F.3d 157, 162 (6th Cir. 1993)).

      “As is the case with a claim under § 523(a)(2)(A) based on a false

representation, a creditor making a false pretenses claim under § 523(a)(2)(A) must

also establish materiality; intent; justifiable reliance; and causation.” Lenchner v.

Korn (In re Korn), 567 B.R. 280 (Bankr. E.D. Mich. 2017), referencing Tweedie v.

Hermoyian (In re Hermoyian), 466 B.R. 348, at 379 (Bankr. E.D. Mich. 2012)

(relying in part on Brann v. Oxford (In re Oxford), 440 B.R. 772, 777 (Bankr. W.D.

Ky. 2010) ).

      “[W]e hold that § 523(a)(2)(A) requires justifiable, but not reasonable,

reliance.” Field v. Mans, 516 U.S. 59, 116 S.Ct. 437, 133 L.Ed.2d 351 (1995), citing

In re Vann, 67 F.3d 277 (CA11 1995); In re Kirsh, 973 F.2d 1454 (CA9 1992).

However, “It should go without saying that our analysis does not relegate all



                                    Page 14 of 21
20-04172-lsg   Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04    Page 14 of 22
reasoning from a negative pregnant to the rubbish heap, or render the reasonableness

of reliance wholly irrelevant under § 523(a)(2)(A).” Field v. Mans, 516 U.S. 59, 116

S.Ct. 437, 133 L.Ed.2d 351 (1995).

      Simply stated, Plaintiff has not alleged a single way in which Lindy made a

false representation to him, nor that he reasonably or justifiably relied upon it, nor

has Plaintiff demonstrated, with respect to Lindy, any “materiality; intent; justifiable

reliance; and causation.”

      Conversely, the facts established regarding Gelov’s interaction with Joe, ARE

established by THE VERY Sophisticated Means Opinion, that Plaintiff references

in his Brief, which is that:

             DuMouchelle and T.G. entered into a contract in which
             they agreed that they would each invest $1.8 million to be
             used to purchase jewelry, DuMouchelle would auction off
             the jewelry, and DuMouchelle and T.G. would split the
             profits. T.G. wired $1.8 million to DuMouchelle, which
             DuMouchelle used to pay his personal and business
             expenses rather than to purchase and auction off the
             jewelry. However, DuMouchelle told T.G. that he used the
             money to purchase the jewelry and was preparing the
             jewelry for auction. After a few months passed,
             DuMouchelle told T.G. that the jewelry had sold and that
             DuMouchelle was just waiting for the sale to close. Id.
             DuMouchelle also sent T.G. a screenshot of
             DuMouchelle’s bank account showing what he falsely
             purported to be the funds of the sale.

             Plaintiff's Motion's Exhibit 16, page 4.

      In other words, Joe did all of these actions, not Lindy. It should be noted that



                                      Page 15 of 21
20-04172-lsg    Doc 206     Filed 11/22/23 Entered 11/22/23 13:34:04     Page 15 of 22
Plaintiff does not allege a single instance of Lindy’s involvement, nor any

representations that he relied upon, nor any false statements by Lindy … nothing.

Instead, this entire lawsuit is based on an alleged DocuSign signature of Lindy, to a

contract for future performance.

      Based on the foregoing, Plaintiff does not have a claim against Lindy which

rises even remotely to the level of evidence required to maintain a claim against

Lindy under 11 U.S.C. §523(a)(2)(A), and Lindy should be granted summary

judgment in her favor on all counts related to §523(a)(2)(A).

Plaintiff Should Not Be Granted Summary Judgment under 11 U.S.C
§523(a)(4), and Defendant Should be Granted Summary Judgment in Her
Favor

      Section 523(a)(4) of the Bankruptcy Code states that “[a] discharge under

section 727... of this title does not discharge an individual debtor from any debt ...

for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or

larceny[.]” 11 U.S.C. § 523(a)(4).

      “This section essentially contains two different exceptions—one for fraud or

defalcation while acting in a fiduciary capacity and another for embezzlement or

larceny while acting in any capacity.” Kriescher v. Gibson (In re Gibson), 521 B.R.

645, 655 (Bankr. W.D. Wis. 2014), citing Bullock v. BankChampaign, N.A., 569

U.S. 267, 133 S.Ct. 1754 1760, 185 L.Ed.2d 922 (2013).

      The term “fiduciary capacity” in § 523(a)(4) has a special, narrow meaning:



                                    Page 16 of 21
20-04172-lsg    Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04     Page 16 of 22
             A debt is non-dischargeable as the result of defalcation when a
             preponderance of the evidence establishes: (1) a pre-existing
             fiduciary relationship, (2) a breach of that relationship, and (3)
             resulting loss. Bd. of Trustees v. Bucci (In re Bucci), 493 F.3d
             635, 642 (6th Cir.2007). In Davis [v. Aetna Acceptance Co. , 293
             U.S. 328, 331, 55 S.Ct. 151, 79 L.Ed. 393 (1934)], the Supreme
             Court instructed that the term “fiduciary capacity” is narrower
             here than it is in some other contexts: section 523(a)(4) covers
             only “express” or “technical trusts” and not trusts arising out of
             “the very act of wrongdoing.” 293 U.S. at 333, 55 S.Ct. 151.
             These “constructive trusts,” which arise ex maleficio (at the time
             the wrong is done), do not satisfy the “fiduciary capacity”
             requirement because the debtor was not “a trustee before the
             wrong.” Id. Establishing an “express” trust is straightforward.
             The creditor must demonstrate: “(1) an intent to create a trust;
             (2) a trustee; (3) a trust res; and (4) a definite beneficiary.

Patel v. Shamrock Floorcovering Servs., Inc. (In re Patel), 565 F.3d 963, 968 (6th

Cir. 2009) (emphasis added) (citation omitted); see also Commonwealth Land Title

Co. v. Blaszak (In re Blaszak), 397 F.3d 386, 391 (6th Cir. 2005) (citation omitted)

(“[T]he defalcation provision of § 523(a)(4) is limited to only those situations

involving an express or technical trust relationship arising from placement of a

specific res in the hands of the debtor.”).

      Moving on, “[i]n section 523(a)(4), the term 'while acting in a fiduciary

capacity' does not qualify the words 'embezzlement' or 'larceny.' Therefore, any debt

resulting from embezzlement or larceny falls within the exception of [§ 523(a)(4)].”

4 Collier on Bankruptcy ¶ 523.10[2], at 523–76 (Alan N. Resnick & Henry J.

Sommer eds., 16th ed. 2016) (citations omitted); see also Powers v. Powers (In re

Powers ), 385 B.R. 173, 178 (Bankr. S.D. Ohio 2008).

                                     Page 17 of 21
20-04172-lsg    Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04    Page 17 of 22
      Plaintiff has no argument that, has not avered that, and has no evidence to

support any claim that Lindy was ever in a fiduciary capacity with respect to him;

therefore, the first half of a claim under §523(a)(4) is not viable, and summary

Judgment should be granted to Lindy at least eliminating any such arguments/claims.

      Federal law defines “embezzlement” under section 523(a)(4) as “the

fraudulent appropriation of property by a person to whom such property has been

entrusted or into whose hands it has lawfully come.” A creditor proves

embezzlement by showing that he entrusted his property to the debtor, the debtor

appropriated the property for a use other than that for which it was entrusted, and the

circumstances indicate fraud. Brady v. McAllister (In re Brady), 101 F.3d 1165,

1172–73 (6th Cir. 1996).

      There really are no arguments that Lindy was ever entrusted with the money

or that it came into her hands; however, any such argument under §523(a)(4) would

fail because if Joe obtained the money fraudulently, there can be no argument that it

“lawfully” came into Lindy’s hands. Therefore, Lindy should be granted summary

judgment in the §523(a)(4) claims against her as it related to “embezzlement.”

      Regarding “larceny”, the contrast between embezzlement and larceny is best

summarized as follows:

             Larceny is different [from embezzlement] in that the
             original taking must have been unlawful, and is defined as
             "the fraudulent and wrongful taking and carrying away of
             the property of another with intent to convert such

                                     Page 18 of 21
20-04172-lsg    Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04     Page 18 of 22
             property to the taker's use without the consent of the
             owner."

      Williams v. Noblit (In re Noblit), 327 B.R. 307, 311 (Bankr. E.D. Mich. 2005)

(quoting Graffice v. Grim (In re Grim), 293 B.R. 156, 166 (Bankr. N.D. Ohio 2003)).

      Here, again, Plaintiff caused and assisted in Joe being criminally prosecuted

for fraudulently obtaining Plaintiff’s money. Plaintiff, again, attaches to his motion

a mountain of evidence about how Joe wrongfully obtained this money from

Plaintiff, not Lindy. Plaintiff cannot now come to this Court and argue that it was

Lindy, not Joe, who wrongfully obtained money from Plaintiff.

      All of the above means one thing: Plaintiff has no argument, and has offered

no apparent argument, supporting his request for judgment against Lindy under 11

U.S.C. §523(a)(4) based upon either “fraud or defalcation while acting in a fiduciary

capacity”, nor upon “embezzlement” nor “larceny.”

                 Summary Judgment to the Non-Moving Party

      This Court may grant summary judgment to the non-moving party. Lisle v.

Metro. Gov't of Nashville and Davidson County, Tenn., Nos. 01-6049, 02-5706., 73

Fed. Appx. 782, 791 (6th Cir. July 9, 2003) (unpublished); see Celotex Corp. v.

Catrett, 477 U.S. 317, 326, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) (district court

may enter summary judgment sua sponte, "so long as the losing party was on notice

that she had to come forward with all her evidence."); In re Century Offshore Mgmt.

Corp., 119 F.3d 409, 412 (6th Cir. 1997) (holding summary judgment was

                                    Page 19 of 21
20-04172-lsg   Doc 206    Filed 11/22/23 Entered 11/22/23 13:34:04     Page 19 of 22
appropriate in favor of the non-moving party where the parties fully briefed the

determinative issue).

      Based on the complete absence of any evidence that Lindy was involved

      WHEREFORE, Defendant, Melinda Adducci, respectfully requests that this

Honorable Court deny Plaintiff’s Motion for Summary Judgment Against Defendant

Melinda Adducci Under Counts III, V, And VIII of Plaintiff’s Second Amended

Complaint (“Motion”) and instead, grant summary judgment in Lindy’s favor.



                                     Respectfully Submitted,
                                     JOHN R. FOLEY, P.C.
                                     Counsel for Defendant


      Dated: November 22, 2023       By: /s/ Patrick A. Foley
                                     Patrick A. Foley (P74323)
                                     18572 W. Outer Drive
                                     Dearborn, MI 48128
                                     Phone: (313) 274-7377
                                     Email: pafoley@jrfpc.net




                                   Page 20 of 21
20-04172-lsg   Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04   Page 20 of 22
                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION – DETROIT

In the Matter of:
 JOSEPH G. DUMOUCHELLE, and                         Bank. Case No. 19-54531-lsg
 MELINDA J. ADDUCCI,                                                  Chapter 7
                   Debtors.                               Hon. Lisa S. Gretchko

    TEODOR GELOV,                                    Adv. Pro. No. 20-04172-lsg
                  Plaintiff,                              Hon. Lisa S. Gretchko
    v.
    MELINDA J. ADDUCI,
                         Defendant


                             PROOF OF SERVICE

      Patrick A. Foley hereby certifies that on November 22, 2023 he did serve a
copy of the foregoing Response and Objection to Motion for Summary Judgment,
upon the following parties via the Court’s CM/ECF e-Filing system:

•    Kimberly Ross Clayson      kclayson@taftlaw.com, ttorni@taftlaw.com
•    Jay L. Welford             jwelford@taftlaw.com, ttorni@taftlaw.com

                                      Respectfully Submitted,
                                      JOHN R. FOLEY, P.C.
                                      Counsel for Defendant

        Dated: November 22 2023       By: /s/ Patrick A. Foley
                                      Patrick A. Foley (P74323)
                                      18572 W. Outer Drive
                                      Dearborn, MI 48128
                                      Phone: (313) 274-7377
                                      Email: pafoley@jrfpc.net




                                    Page 21 of 21
20-04172-lsg    Doc 206   Filed 11/22/23 Entered 11/22/23 13:34:04   Page 21 of 22
                           Exhibit A




20-04172-lsg   Doc 206   Filed 11/22/23   Entered 11/22/23 13:34:04   Page 22 of 22
